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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Protect Our Parks, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:18−cv−03424
                                                      Honorable John Robert Blakey
Chicago Park District, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 14, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Motion hearing held on
2/14/2019. Defendant's motion to dismiss [48] is taken under advisement and the Court
will issue a ruling by separate written order on 2/19/19. Plaintiff's oral request to amend
complaint is granted in part and denied in part. An amended complaint, adding only the
line referenced in open court, shall be filed by noon on 2/15/2019. Parties shall meet and
confer regarding any outstanding discovery disputes as discussed in court, and file a joint
status report regarding any potential discovery issues on or before 2/22/2019. Status
hearing set for 2/27/2019 at 10:30 a.m. in Courtroom 1203. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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